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19-111856
                          UNITED STATES BANKRUPTCY COURT

                              DISTRICT OF MINNESOTA
                 ____________________________________________________

In Re:                                             Case No. 19-41577 KHS
                                                   Chapter 7

Diane L. Rose
James D. Rose

                  Debtors.
                 ____________________________________________________

                            NOTICE OF HEARING AND MOTION
                                FOR RELIEF FROM STAY

TO:         The Debtors and other entities specified in Local Rule 9013-3(a).

1.     Specialized Loan Servicing, LLC (hereinafter “Movant”), by its undersigned
attorneys, moves the Court for relief requested below and gives Notice of Hearing.

2.    The Court will hold a Hearing on this motion at 1:30 p.m. on November 7, 2019,
in Courtroom No. 8 West, at U.S. Courthouse, 8th Floor, 300 South Fourth St.,
Minneapolis, MN 55415.

3.    Any response to this Motion must be filed and delivered no later than Friday
November 1, 2019, which is five (5) days before the time set for the hearing (including
Saturdays, Sundays, and holidays). UNLESS A RESPONSE OPPOSING THE
MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT
A HEARING.

4.     This court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and
1334, Federal Rule of Bankruptcy Procedure 5005, and Local Rule 1070-1. This
proceeding is a core proceeding.

5.          The petition commencing this case was filed on May 24, 2019.

6.    This Motion arises under 11 U.S.C. § 362(d) and Federal Rule of Bankruptcy
Procedure 4001. This Motion is filed pursuant to Fed. R. Bankr. P. 9014 and Local Rules
4001-1 and 9013-1 through 9019-3.




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7.     Movant Requests Relief from the automatic stay with respect to real property of
subject to a mortgage lien, effective immediately, notwithstanding Fed. R. Bankr. P.
4001(a)(3).

8.     The Debtors executed a promissory note in the original amount of $291,450.00
dated December 19, 2013 (hereinafter the “Note” or “Debt Agreement”).

9.     The Note is either made payable to the Movant or has been duly indorsed. Movant
has possession of the Note directly or through an agent.

10.    The Note is secured by a valid, perfected mortgage lien (hereinafter the
“Mortgage”), executed by Diane L. Rose and James D. Rose, encumbering real property
located at 840 Deerwood Drive, Chaska, MN 55318 and legally described as:

            Lot 5, Block 1, Deerwood Estates, Carver County, Minnesota

11.     Movant is the holder of the Mortgage pursuant to assignment(s) of mortgage and
is entitled to enforce the terms thereof.

12.   The Note and Mortgage provide that failure to make the payments due under the
Note are a condition of default, the occurrence of which gives Movant the right to
proceed with foreclosure of the Mortgage.

13.         The Debtors signed a Loan Modification Agreement on October 24, 2018.

14.  The Debtors have failed to make the promised payments with respect to the Note
and Mortgage and are therefore in default.

15.   As of September 30, 2019, the total amount of the Mortgage default is $13,001.44,
which is detailed on Local Form 4001-1.

16.   As of September 30, 2019, the total balance owed under the Mortgage was
$240,392.58.

17.    The current tax assessed value of the property is $471,500.00. The Debtors
estimated the value of the property as $536,000.00. Based upon available information,
the Movant adopts $471,500.00 as the estimated fair market value of the property.

18.   The property is subject to a junior mortgage in favor of U.S. Bank for
$130,863.72, and a junior mortgage in favor of Wells Fargo Bank, N.A. for $52,408.61.

19.     In order to protect its interest in the secured property of the Debtors, the Movant
must pursue its remedies to foreclose under Minnesota law. Movant has and will incur
legal fees and costs to protect and enforce its rights in the property.




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20.    Cause exists for the Court to vacate the automatic stay imposed by 11 U.S.C.
§ 362(a), because the Debtors have failed to provide Movant with adequate protection.
Further, Movant is entitled to termination of the automatic stay because there is
insufficient equity in the property, nor is the property is necessary to an effective
reorganization.

21.    This is an attempt to collect a debt and any information obtained will be used
for that purpose. This notice is required by the provisions of the Fair Debt Collection
Practices Act and does not imply that we are attempting to collect money from anyone
who has discharged the debt under the Bankruptcy Laws of the United States.

       WHEREFORE, pursuant to 11 U.S.C. § 362(d), Specialized Loan Servicing, LLC,
respectfully moves the Court for an Order:

1.          Granting relief from the automatic stay imposed by 11 U.S.C. § 362(a).

2.          Determining that the 14 day stay under Fed. R. Bankr. P. 4001(a)(3) be waived so
            that this order for relief is effective immediately upon entry.

3.          For such other and further relief as the Court finds equitable and just.



Dated: October 15, 2019


                                                    Signed: /s/ Joseph M. Rossman
                                                    James A. Dohnalek, Jr. – 0399206
                                                    Joseph M. Rossman - 0397070
                                                    jrossman@logs.com
                                                    Shapiro & Zielke, LLP
                                                    Attorneys for Movant
                                                    12550 West Frontage Road, Suite 200
                                                    Burnsville, MN 55337
                                                    (952) 831-4060




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                                                          EXHIBIT C
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                                                             EXHIBIT D
                   Carver County
                     Case 19-41577
                   Property
                   Taxpayer Tax         Doc 47
                                Department
                            Services Department                                                         2019
                                                                                                        2016
                                                                                    Filed 10/15/19 Entered      Property
                                                                                                           10/15/19 11:53:21 Tax    Statement
                                                                                                                              Desc Main
                   600 East
                   Laurie   4th Street,
                          Davies,       P.O. Box 69
                                   Manager                                           Document     Page 40 of 50    VALUES AND CLASSIFICATION
                   Chaska,
                   600 EastMN   55318-0069
                            4th Street, P.O. Box 69                                                                                  Taxes Payable Year:                                     2018
                                                                                                                                                                                             2015                          2019
                                                                                                                                                                                                                           2016
                   952-361-1910   • www.co.carver.mn.us
                   Chaska, MN 55318-0069                                                                                               Estimated Market Value:                             457,800
                                                                                                                                                                                           972,400                       471,500
                                                                                                                                                                                                                         965,000
                   952-361-1910 • www.co.carver.mn.us
                    For the following visit our website at www.co.carver.mn.us                                                Step       Homestead Exclusion:
                            • Pay your taxes online
                            • Sign up for our Tax Payment Reminder                                                             1         Taxable Market Value:
                                                                                                                                            New Improvements/
                                                                                                                                                                                           457,800
                                                                                                                                                                                           972,400                       471,500
                                                                                                                                                                                                                         965,000
                            • Print additional copies of your Tax Statement
                                                                                                                                            Expired Exclusions:
             Property ID #: 30.1400050
                            10.0340100                                                                                                   Property Classification:                         Res Hstd
                                                                                                                                                                                       Ag Non-Hstd                       Res Hstd
                                                                                                                                                                                                                      Ag Non-Hstd
                                                                                                                                                                                         Comm/Ind                       Comm/Ind
                                                                                                                                                                                      Res Non-Hstd                   Res Non-Hstd

                                                                                                           

                                                                                                                    Step                                      PROPOSED TAX
  Taxpayer: JAMES   D & DIANE
            PRIME FOUR
            840
            5680DEERWOOD
                          LLP L ROSE
                 COUNTY ROAD  DR 10 N
                                                                                                      000002
                                                                                                                               2                                            $5,978.00
                                                                                                                                                                            $12,208.00

            CHASKA
            WACONIA  MNMN55318-1200
                           55387-9650                                                                                                                         PROPERTY TAX STATEMENT
                                                             Step
                                                                                                                                            First half taxes due:                       May 15
                                                                                                                                                                                             16                         3,010.00
                                                                                                                                                                                                                        6,251.00
                                                                                                                               3        Second half taxes due:
                                                                                                                                      Total Taxes Due in 2019:
                                                                                                                                                            2016:
                                                                                                                                                                                     October 15
                                                                                                                                                                                    November                            3,010.00
                                                                                                                                                                                                                        6,251.00
                                                                                                                                                                                                                        6,020.00
                                                                                                                                                                                                                       12,502.00


                $$$
                                                      Tax Detail for Your Property:
                $$$                                   Taxes Payable Year:
                                                                       1. Use this amount on Form M1PR to see if you are eligible for a property tax refund.
                                                                                                                                                                                               2018
                                                                                                                                                                                               2015                        2019
                                                                                                                                                                                                                           2016
                                                                                                                                                                                                                        5,987.00
               REFUNDS?                                                   File by August 15. If this box is checked, you owe delinquent taxes and are not eligible.
                                                                       2. Use these amounts on Form M1PR to see if you are eligible for a special refund.                                   5,882.00
       You may be eligible for one or
        even two refunds to reduce                                                                                                                                                          5,882.00
                                                                                                                                                                                           12,956.00                    5,987.00
                                                                                                                                                                                                                       12,209.00
                                                                       3. Property taxes before credits
        your property tax. Read the
                                                     Tax and
                                                     Credits




                                                                       4. Credits that reduce property taxes             A. Agricultural market value credits
         back of this statement to                                                                                       B. Other Credits
          find out how to apply.                                       5. Property taxes after credits                                                                                      5,882.00
                                                                                                                                                                                           12,956.00                    5,987.00
                                                                                                                                                                                                                       12,209.00
Bill#                                                                  6. County                             A. CARVER COUNTY                                                               1,714.58
                                                                                                                                                                                            3,895.11                    1,719.87
                                                                                                                                                                                                                        3,728.92
Property Address:                                                                                            B. CO RAIL AUTHORITY                                                               5.23
                                                                                                                                                                                                9.33                        4.93
                                                                                                                                                                                                                           10.52
840                                                                    7. City or Town        CITY
                                                                                              TOWNOFOFCHASKA
                                                                                                       WATERTOWN                                                                            1,246.78
                                                                                                                                                                                            1,547.96                    1,305.00
                                                                                                                                                                                                                        1,586.74
5680DEERWOOD
      COUNTY ROAD DR 10 N
CHASKA
WACONIAMN  MN55318-1200
              55387-9650                                               8. State General Tax                                                                                                 1,445.89                    1,320.12
                                                                       9. School District   SD 0112
                                                                                               0110 Eastern
                                                                                                    WACONIA Carver Cnty
                                                                                                             A. Voter Approved Levies                                                       1,841.96
                                                                                                                                                                                            2,630.18                    1,913.81
                                                                                                                                                                                                                        2,465.02
Property Description:                                                                                        B. Other Local Levies                                                            764.46
                                                                                                                                                                                            1,190.23                      733.34
                                                                                                                                                                                                                        1,147.78
                                                     Property Tax by




Section
Acres 8033 Township 116 Range 023
                                                       Jurisdiction




DEERWOOD     ESTATES
Section 34 Township   117Lot 005 Block
                          Range  025 001                               10. Special Taxing Districts                      A. Metro Council                                                      37.86
                                                                                                                                                                                               91.12                       30.66
                                                                                                                                                                                                                           87.68
S1/2 NW1/4 EXC: COMM AT NE CORN S1/2                                                                                     B. Metro Mosquito Control                                             20.42
                                                                                                                                                                                               47.34                       19.93
                                                                                                                                                                                                                           45.85
NW1/4 TH S 7 RODS TH W 38 RODS TH N 7                                                                                    C. Metro
                                                                                                                            CarverTransit
                                                                                                                                   CountyDistrict
                                                                                                                                          CDA                                                  62.55
                                                                                                                                                                                              152.82                       68.54
                                                                                                                                                                                                                          163.16
RODS TH E 38 RODS TO PT OF BEG ALSO
INCL: COMM AT NW CORN S1/2 NW1/4 TH E                                                                                    D. Carver County CDA
                                                                                                                            Watershed                                                          75.08
                                                                                                                                                                                               85.72                       76.65
                                                                                                                                                                                                                           87.48
ON CENTERLINE NW1/4 122 RODS TH N 2.2                                                                                    E. Watershed
                                                                                                                            Fiscal                                                             44.26
                                                                                                                                                                                            1,860.30                       43.71
                                                                                                                                                                                                                        1,565.73
RODS TH W 122 RODS TH S 2.2 RODS TO                                                                                      F. City HRA/EDA                                                       68.82                       70.56
PT OF BEG


Line 13 Special Assessment Detail:
HAZ & SOLID WASTE FEE RES/AG              33.00                        11. Non-school voter approved referenda levies
                                                                       12. Total property tax before special assessments                                                                    5,882.00
                                                                                                                                                                                           12,956.00                    5,987.00
                                                                                                                                                                                                                       12,209.00

                                                                       13. Special Assessments               Interest:                        Principal: 33.00
                                                                                                                                                         293.00                                30.00
                                                                                                                                                                                              284.00                       33.00
                                                                                                                                                                                                                          293.00

                                                                       14. TOTAL PROPERTY TAX AND SPECIAL ASSESSMENTS                                                                       5,912.00
                                                                                                                                                                                           13,240.00                    6,020.00
                                                                                                                                                                                                                       12,502.00
            Principal: 33.00
            Interest:


                   2nd HALF PAYMENT STUB - PAYABLE 2019                                                                   To pay online go to www.co.carver.mn.us
                                                                                                                          The online payment feature is available for a current year tax payment.
                   PLEASE INDICATE YOUR ADDRESS CORRECTION                                                                Delinquent payments cannot be paid online.



     2
                   ON REVERSE SIDE OF THIS PAYMENT STUB.
                   Property ID#: 30.1400050
                                 10.0340100                                                                        TO AVOID PENALTY PAY ON OR BEFORE: October
                                                                                                                                                      November1515
                   OUR RECORDS INDICATE THAT YOUR TAXES ARE BEING PAID BY
                   ESCROW COMPANY WELLS FARGO RE TAX SERVICE                                   SECOND 1/2 TAX AMOUNT DUE:                                                                          3,010.00
                                                                                                                                                                                                   6,251.00
                                                                                                                                                                                                            

                                                                                                                                                                                                       
                                                                                                                            Make checks payable to and remit to:                                       000002
                   Bill #:
                                                                                                                            Carver County
                                                                                                                            Carver     County
                   Taxpayer:
                   JAMES D & DIANE
                   PRIME FOUR   LLP L ROSE                                                                                  P.O. Box 69
                   840
                   5680DEERWOOD
                        COUNTY ROADDR 10 N                                                                                  Chaska,
                                                                                                                            Chaska,      MN
                                                                                                                                         MN 55318-0069
                                                                                                                                                55318-0069
                                                                                                                            
                   CHASKA
                   WACONIAMN MN55318-1200
                                 55387-9650

                                                                                                                          Your cancelled check is proof of payment. Please write your Property ID # on your check.
                                                                                                                          Postdated checks are not held. Only official U.S. Postmark determines payment mail date.
                                                                                                                          No receipt sent unless requested and is void until check is honored. Manufactured Home
                                                                                                                          taxes of $50.00 or less and Real Estate taxes of $100.00 or less must be paid in full.
                                                                                                                          If you pay your taxes late, you will be charged a penalty. See back for details.



                   1st HALF PAYMENT STUB - PAYABLE 2019
                                                   2016                                                                   To pay online go to www.co.carver.mn.us
                                                                                                                          The online payment feature is available for a current year tax payment.
                   PLEASE INDICATE YOUR ADDRESS CORRECTION                                                                Delinquent payments cannot be paid online.



     1
                   ON REVERSE SIDE OF THIS PAYMENT STUB.                                                           TO AVOID PENALTY PAY ON OR BEFORE: May 15
                                                                                                                                                          16
                   Property ID#: 30.1400050
                                 10.0340100
                   OUR RECORDS INDICATE THAT YOUR TAXES ARE BEING PAID                         FULL TAX AMOUNT:                                                                                     6,020.00
                                                                                                                                                                                                   12,502.00
                   BY ESCROW COMPANY WELLS FARGO RE TAX SERVICE
                                                                                               FIRST 1/2 TAX AMOUNT DUE:                                                                            3,010.00
                                                                                                                                                                                                    6,251.00
                   Bill #:
                                                                                                                            Make checks payable to and remit to:
                   Taxpayer:
                   JAMES D & DIANE
                   PRIME FOUR   LLP L ROSE                                                                                  Carver County
                                                                                                                            Carver     County
                   840
                   5680DEERWOOD
                        COUNTY ROADDR 10 N                                                                                  P.O. Box 69
                   CHASKA
                   WACONIAMN MN55318-1200
                                 55387-9650
                                                                                                                            Chaska,
                                                                                                                            Chaska,      MN
                                                                                                                                         MN 55318-0069
                                                                                                                                                55318-0069
                                                                                                                            




                                                                                                                          Your cancelled check is proof of payment. Please write your Property ID # on your check.
                                                                                                                          Postdated checks are not held. Only official U.S. Postmark determines payment mail date.
                                                                                                                          No receipt sent unless requested and is void until check is honored. Manufactured Home
                                                                                                                          taxes of $50.00 or less and Real Estate taxes of $100.00 or less must be paid in full.

                                                            EXHIBIT E                                                     If you pay your taxes late, you will be charged a penalty. See back for details.
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                                                                     Local Form 4001-1
                                                                       Loan History
                         Begin loan history from the date of the first default related to the current default amount that is claimed in the motion.


                                                                                CHARGES

            Amount Rec'd From Monthly Amount Due         Monthly Amount      Amount Due Late      Amount Due
  Date                                                                                                                     Description of Other Charge
               Debtor(s)       Principal/Interest         Due Escrow             Fees            Other Charge*
11/1/2018                          $919.51                  $709.06
11/5/2018      $1,628.57
12/1/2018                          $919.51                    $709.06
 1/1/2019                          $919.51                    $709.06
 2/1/2019                          $919.51                    $709.06
2/19/2019      $3,303.12
 3/1/2019                          $919.51                    $709.06
 4/1/2019                          $919.51                    $709.06
 5/1/2019                          $919.51                    $709.06
 6/1/2019                          $919.51                    $709.06
 7/1/2019                          $919.51                    $709.06
 8/1/2019                          $919.51                    $709.06
 9/1/2019                          $919.51                    $727.92

  Total         $4,931.69             $10,114.61             $7,818.52            $0.00                $0.00
                   (a)                    (b)                   (c)                (d)                  (e)

            *Any "Other Charge" must be described, itemized by amount and allowed under note and/or mortgage (e.g., inspection fee, appraisal fee,
            insurance, taxes, etc.).

            Note: Columns (b) + (c) + (d) + (e) - (a) must equal the current default amount that is claimed in the motion.

            Attorneys fees and filing fee for the motion, if allowed under note and/or
            mortgage and sought by Movant to resolve motion                                    $0.00

            Current Default Amount Claimed in the Motion                                       $13,001.44

            Escrow Balance (amounts held for payment of taxes, insurance, etc.)                $0.00

            Suspense Account Balance (amount of unapplied payments)                            $45.98




                                                                                                                          EXHIBIT F
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                       UNITED STATES BANKRUPTCY COURT

                             DISTRICT OF MINNESOTA
                       ______________________________________

In Re:                                             Case No. 19-41577 KHS
                                                   Chapter 7

Diane L. Rose
James D. Rose

         Debtors.
                       ______________________________________

                                MEMORANDUM OF LAW


         Specialized Loan Servicing, LLC ("Movant"), submits this memorandum of law in

support of its Motion for Relief from the stay in the above-entitled matter.

                                           FACTS

         On December 19, 2013, Debtors made, executed, and delivered a Promissory Note

to Wells Fargo Bank, N.A. for $291,450.00 (“Note”), which is secured by a Mortgage

dated December 19, 2013, and recorded January 7, 2014, in Carver County as Document

Number A589351, as modified by a Loan Modification Agreement signed on October 24,

2018. Said Mortgage was executed by Debtors. The Mortgage has been assigned to

Movant via assignment of mortgage. The mortgage encumbers real property at 840

Deerwood Drive, Chaska, MN 55318.

         The Debtors filed a petition under Chapter 7 of Title 11 of the U.S. Code, listing

real property subject to a security interest held by the Movant in Schedule D. The
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Debtors in this case have failed to make the contractual payments required by the Note

and Mortgage, as evidenced by Local Form 4001-1.

                                        ARGUMENT

I.       THE MOVANT HAS STANDING TO BRING THIS MOTION FOR
         RELIEF FROM THE STAY TO FORECLOSE THE MORTGAGE

         A “party in interest” has standing to make a motion for relief from the stay, after

notice and hearing. 11 U.S.C. § 362 (d). The holder of a note and mortgage, or its

authorized agent, has standing to bring a stay relief motion. See, e.g., In re Jacobson,

402 B.R. 359, 366 (Bankr. W.D. Wash. Mar. 6, 2009) (as modified Mar. 10, 2009). In

the District of Minnesota, Local Bankruptcy Rule 4001-1 specifies the evidence that the

movant must provide to the court in order to prove standing for a motion for relief from

stay, including a copy of the note, copy of the mortgage recorded in the land records, any

assignments if the movant is not the original mortgagee, and any other evidence that the

movant has authority to make the motion. Loc. R. Bankr. P. 4001-1(b)(1). See also

LRBP 90132(a); LRBP 9013-2(d).

         Exhibits A through D submitted in support of this motion show the chain of title

that gives Movant standing to seek relief from the automatic stay. The Note is made

payable to the Movant or has been duly indorsed. Movant has possession of the Note

directly or through an agent. The Mortgage was recorded in the county in which the

property is located, and the Movant is the original mortgagee, the beneficiary, or the

assignee of the Mortgage. The Movant has provided sufficient evidence to show that it is
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a party entitled to enforce the terms of the Note and Mortgage, and likewise, that Movant

has standing to bring this Motion for Relief.

II.    MOVANT IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY
       “FOR CAUSE” UNDER 11 U.S.C. § 362(d)(1)

       Section 362(d) of the Bankruptcy Code governs relief from the automatic stay. 11

U.S.C. § 362(d). Under Section 362(d)(1), relief from the automatic stay shall be granted

upon request of a party in interest “for cause, including the lack of adequate protection of

an interest in property of such party.” 11 U.S.C. § 362(d)(1). Cause has been defined to

mean “any reason whereby a creditor is receiving less than his bargain from a debtor and

is without a remedy because of the bankruptcy proceeding.” In re Martens, 331 B.R.

395, 398 (8th Cir. B.A.P. 2005) (internal citation omitted). A secured creditor’s interest

is not adequately protected where its collateral is depreciating in value. See United Sav.

Ass’n of Texas v. Timbers of Inwood Forest Assoc. Ltd., 484 U.S. 365, 370 (1988). Other

grounds for granting relief from the stay to the creditor “for cause” include that the debtor

is not insuring the property or the debtor is failing to pay ongoing utilities, real estate

taxes, or homeowners’ association dues which lead to liens that affect the creditor’s

position. See, e.g., In re Biltwood Properties LLC, 473 B.R. 70 (Bankr. M.D. Pa. 2012)

(although Chapter 11 debtor was making regular mortgage payments, the creditor was not

adequately protected and was thus entitled to stay relief where the debtor had failed to

pay real estate taxes resulting in a superior tax lien); In re Harwood Hideout, Inc., 2005

WL 894828 (Bankr. D. N.D. 2005) (mortgagee was entitled to relief from the stay unless

debtor provided proof of insurance and cured any existing tax deficiencies). The burden
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of proof is on the debtor to demonstrate lack of cause by showing that adequate

protection has been provided to the creditor. 11 U.S.C. § 362(g)(2).

       The Debtors have failed to make the contractual payments with respect to the Note

and Mortgage and are therefore in default. See Exhibit F, Local Form 4001-1. The

Debtors have not otherwise provided Movant with adequate protection of its interest in

the subject property. Such circumstances constitute cause within the meaning of Section

362(d)(1), justifying relief from the stay.

III.   MOVANT IS ENTITLED TO RELIEF FROM THE STAY UNDER 11
       U.S.C. § 362(d)(2) BECAUSE THERE IS INSUFFICIENT EQUITY IN THE
       PROPERTY

       Section 362(d)(2) of the Bankruptcy Code provides a separate and independent

basis for relief from the automatic stay. Stay relief shall be granted where (A) the debtor

does not have any equity in such property; and (B) the property is not necessary to an

effective reorganization. 11 U.S.C. § 362(d)(2). A creditor is entitled to relief from the

automatic stay if the debtor is not making mortgage payments, and if there is insufficient

equity in the property to adequately protect the creditor. In re Martens, 331 B.R. at 398.

The test for equity under § 362(d)(2) compares all encumbrances against the property to

the property’s current value, whether or not all lienholders have requested relief from the

stay. In re Bowman, 253 B.R. 233, 238 (B.A.P. 8th Cir. 2000). Where there exists no

equity in the property, it is incumbent upon a debtor to make a showing that the property

is necessary to an effective reorganization in order to defend against the motion. In re

Embassy Enterprises of St. Cloud, 125 B.R. 552, 554 (Bankr. D. Minn. 1991). Because

Chapter 7 is not a reorganization chapter, all the creditor need prove in a Chapter 7 case
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is that the debtor has no equity in the collateral. 11 U.S.C. §362(d)(2)(A); In re Gess,

526 B.R. 798, 802 (B.A.P. 8th Cir. 2015) (relief from the stay properly granted under

section 362(d)(2) where the value of a van was less than the amount owed on the loan

and the debtors conceded that the van was not needed for an effective reorganization in a

Chapter 7 case); see also In re Martens, 331 at 398 (relief properly granted where a

Chapter 7 debtor failed to make any payments on the secured loan for nearly a year, there

was insufficient equity in the property to adequately protect the creditor, and by

definition the property was not necessary to a reorganization).

       As evidenced by the verified facts submitted along with this motion, the Debtor

has failed to make the payments required by the Note and the Mortgage. Factoring in

holding and marketing costs, and standard realtor commission, there is likely no equity in

the property. Accordingly, the Movant is entitled to relief from the automatic stay under

§ 362(d)(2).
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                                      CONCLUSION

       The facts set forth above establish adequate cause to support a lift of the automatic

stay, and that the 14 day stay pursuant to Bankruptcy Rule 4001(a)(3) be waived.

Therefore, the Movant is entitled to an Order for relief from the stay to foreclose its

Mortgage on the property and protect its security interest under state law.

                                           Respectfully submitted,
Dated: October 15, 2019
                                           Signed: /s/ Joseph M. Rossman
                                           James A. Dohnalek, Jr. – 0399206
                                           Joseph M. Rossman - 0397070
                                           jrossman@logs.com
                                           Shapiro & Zielke, LLP
                                           Attorneys for Movant
                                           12550 West Frontage Road, Suite 200
                                           Burnsville, MN 55337
                                           (952) 831-4060
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                                                                           19-41577 KHS


                             CERTIFICATE OF SERVICE


STATE OF MINNESOTA                 )
                                   ) SS
COUNTY OF DAKOTA                   )

I, Madeline Dopp, declare under penalty of perjury, say that on October 15, 2019, I
mailed via U.S. Mail and CM/ECF emailed copies of the Notice of Hearing and Motion
for Relief from Stay, Affidavit, annexed Memorandum of Law, Proposed Order for
Relief from Stay, and Certificate of Service on the following interested parties at their
last known address.

Service Via U.S. Mail

James D. Rose                                Diane L. Rose
840 Deerwood Drive                           840 Deerwood Drive
Chaska, MN 55318                             Chaska, MN 55318

Service Via U.S. Certified Mail

Internal Revenue Service                         State of Minnesota
Attn: Sara Mattson                               Department of Revenue
PO Box 7346                                      Attn: Sara Westly
Philadelphia PA 19101                            PO Box 64447
                                                 St Paul MN 55164 0447
Attorney General of the United States
United States Department of Justice
                                                Minnesota Attorney General
Attn: Civil Process Clerk
                                                Attn: Civil Process Clerk
950 Pennsylvania Avenue NW, Room 4400
                                                445 Minnesota Street, Suite 1400
Washington, D.C. 20530
                                                St. Paul, MN 55101
United States Attorney for the District of Minnesota
Attn: Civil Process Clerk
600 U.S. Courthouse                             U.S. Bank National Association
300 South 4th Street                            Attn: Bankruptcy Department
Minneapolis, MN 55415                           PO Box 108
                                                Saint Louis, MO 63166-0108
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Wells Fargo Bank, N.A.
MAC B6955-01B
Attn: Managing Agent
PO Box 31557
Billings, MT 59107-9900

Trott Law
25 Dale St. North
Saint Paul, MN 55102

Wilford, Geske, & Cook
7616 Currell Blvd Suite 200
Saint Paul, MN 55125-2296

Additional Copy(s) served electronically through the Court’s ECF System or by first
class U.S. mail postage addressed to:

Attorney for Debtor:
Chad A Kelsch
Kelsch Law Firm PA
3350 Annapolis Lane N
Ste C
Plymouth, MN 55447

Trustee:
Julia A. Christians
Lapp, Libra, Thomson, Stoebner & Pusch,
One Financial Plaza, Suite 2500
120 South Sixth Street
Minneapolis, MN 55402

U. S. Trustee
1015 U.S. Courthouse
300 South 4th St.
Minneapolis, MN 55415
                                               /s/ Madeline Dopp
                                               Madeline Dopp
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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA

In Re:
                                                  Case No. 19-41577 KHS

Diane L. Rose
James D. Rose

         Debtors.

                               ORDER GRANTING RELIEF

         This case is before the court on the motion of Specialized Loan Servicing, LLC,

for relief from the automatic stay imposed by 11 U.S.C. § 362(a).

         Based on the records, the court finds that grounds exist under 11 U.S.C. § 362(d)

to warrant relief.

         IT IS ORDERED:

         1.    The motion for relief from stay is granted as follows.

         2.    The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that

the movant may exercise its rights and remedies under applicable nonbankruptcy law

with respect to the following property:

         Lot 5, Block 1, Deerwood Estates, Carver County, Minnesota


         3.    Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this

order is effective immediately.




Dated: ______________________              _________________________________
                                           United States Bankruptcy Judge
